Case 2:05-cv-02017-SHI\/|-dkv Document 27 Filed 07/29/05 Page 1 Of 2 Page|D 24 h

 

IN THE UNITED sTATEs DISTRICT coUR'r Fll.ED BY _L(€QL D.C.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
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T|-[JMASM.GOULD
JoE wILLIAM FoRD, JR. , US.D€‘STR!CTOOURT

W 055 'F`\l_ §~’HAPH£S
Plaintiff,

CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER DEN'YING AS MOOT DEFENDANTS CITY OF MEHPHIS' , OFFIC‘ER MARVIN
RICHARDSON'S A.N'.D OFFICER K. WORKMAN’S MOTIONS TO DISMISS

 

Before the court are the City of Memphis' motion to dismiss,

filed on January 25, 2005, Officer Kent Workman’s motion to
dismiss, filed on January 27, 2005, and Officer Marvin Richardson’s
motion to dismiss, filed on March 16, 2005. Joe William Ford filed
a motion for leave to amend his Complaint on March 29, 2005, which
the court granted on June 21, 2005. Ford subsequently filed an
Amended Complaint on July 5, 2005. Consequently, defendants City of
Memphis', Officer Workman's, and Officer Richardson's motions to

dismiss are DENIED as moot.

So ordered this aslday of July 2005.

jA///‘/I/;__.,

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in co p|ianca
with Rule 58 and/or 79(a) FRCP en I“ f 1 g §

 

 

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This notice confirms a copy of the document docketed as number 27 in
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Honorable Samuel Mays
US DISTRICT COURT

